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                                                                                  (Doc. Nos. 448)


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE


 ______________________________
                               :
 UNITED STATES OF AMERICA :
                               :                     Honorable Robert B. Kugler
             v.                 :                    Crim. No. 11-740 (RBK)
                                :
 NICODEMO S. SCARFO, et al.,    :                    ORDER
                                :
 ______________________________

         THIS MATTER having come before the Court on Defendant Adler’s Motion for

 Reconsideration of the Court’s February 19 Order, and the Court having considered the moving

 papers and responses thereto, and the Court having also considered the arguments of counsel at

 the August 2, 2013 hearing before the Court, and for the reasons expressed on the record on that

 date;

         IT IS HEREBY ORDERED that Defendant Adler’s [8] Motion for Reconsideration is

 GRANTED IN PART, DENIED IN PART. The Court will grant Adler’s motion to the extent

 that he seeks re-argument of the relevant legal questions, but deny the motion to dismiss and

 motion for grand jury instructions.



 Dated: 08/02/2013                                           /s/ Robert B. Kugler
                                                             ROBERT B. KUGLER
                                                             United States District Judge
